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§ Ati<)me S for Piaintiffs, CARPENTERS SOUTHWEST

ADMI ISTRATIVE CORPORATION and BOARD OF
6 TRUSTEES FOR THE CARPENTERS SOUTHWEST TRUSTS

UNITED STATES DISTRICT CGURT

 

8
CENTRAL DISTRICT GF CALIFORNIA
9
1 §§
11 CARPENTERS SGUTHWEST ` CASE NO.
ADMINISTRATIVE CORPORATIC)N, §
12 a Califc)mia non~ roiii; 60 erati<)n; and § CGMPLA§NT FGR;
BOARD OF TR STEES -OR THE 4 v
1 3 CARPENTERS SOUTHWEST °’i`RUS'i`S:9 i. DAMAGES FOR FAILURE
TO PAY FRINGE BENEFIT
1 § Plaimiffs, CC)NTRIBUTIONS;
1 § v. 12e SPECIFIC PERFOKMANCE
FOR SPECIFIC MISSING
1 6 FABRIC WALLCRAFT OF REPORTS;
CALIFORNIA, iNC*, a Caiifornia
152 c@r maiic)ii; mid DOES i thr<)ugh 19aj 3. iNjUNCTIVE RELIEF FOR
inc usiv@§ FAILURE TO TIMELY FILE
1 8 AND PAY EMPLOYER
Defeiidant§, § MONTHLY REPORTS; and
i. 9
éi. SPECIFIC PERFORMANCE
2<: T() CONDUCT AN AUDY§
z 1 JURISDICTI()N
22 ii This is 3 Civii aciic)n 10 recover f§ing€ benefit c@niributic:is, for Sp<:)c;ific
2 3 peri’<>rmanc§ fair Sp€€ii"i<;: missing iepoi"§§, far injunctive relief 13 €:<)mpei primer
2 § iep<:zr§in§? and fm S;)eci§i: perf@mizmc€ i;<> soiii:iuci; aig audii:¢ This ai:!;i@iz arises aid
4 5 §u:i§¢;iic:i©:z Gi` th@ §@iii§ iS §§Lii:de§i 35 §§ S€ci:i@n E§i §§ iiii§ §§i)@r=i§/iaiia§@m€iz§

N
C`>W

R@iati<)iig Aci 65 E§MV?, 35 gm@ndeci (“LMRA"), §§ UGS.C. § 1353, ami S€Q€i§)ng 5§2

i\`)
~l

21:'§§ 5 § 5 95 ?h€ §m§i;)y€§ R§§ir€iii€ii§ irif;<)§“:§ S@Ciii”ii§f AQ§ <3§ i§>?§§ 33 Q.:i”ie§<;i€;i

g§i§§§§Ai§)i §§ Li,§,i;: § iiz:; §§§i ii:i:zt

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PARTIES AND ()THERS

29 CARPENTERS SOUTHWEST ADMINISTRATIVE
CCRPORATION, a Caiifornia non“proiit corporation ("CSAC") is a nonprofit
corporation duly organized and existing under and by virtue of the iaws of the State
of Caiiforniae CSAC’s principal place of business is in the County of Los Angeies§
State of Caiifornia.

3. At ali reie\/ant times nerein§ the BOARD OF TRUSTEES FOR THE
CARPENTERS SOUTHWEST TRUSTS Wei‘e and now are fiduciaries and are duly
authorized and acting trustees of those ERiSA Trust Funds defined in paragraph six.

4. CSAC and BCARD OF TRLTSTEES FGR THE CARPENTERS
SOUTHWEST 'i`RUSTS are aiso authorized agents to act on behalf of the remaining
ands and entities (detined in paragraph nine) Witn respeet to these delinqueneies.
CSAC and BGARD OF TR`USTEES F©R THE CiARPEN?ERS SQUTHWEST
TRUSTS are sometimes eoiieetiveiy referred to as PLAINTIFFS,

5. The true narnes and sanaeities? Whether individuai, eorporate§ associatez
or otherwise of defendants named herein as DOES i through i{)i are anknown at
this tirne to PLAINTIFFS, PLAINTIFPS therefore sue tire defendants by such
fictitious names§ and PLAiNTIFFS Wiii amend this complaint to show their true
names and eapaeities When the sarne nas been ascertained PLAINTIFP`S are
informed and beiieve and thereon aliege that eaen of the iietitiousiy narned
defendants is responsible in sorne manner for the eeenrtenees herein aiiiegedz either
throagh its own eondaet, or through the eonduet ot` its agents, servants and/er
empioyees, or in sorne other manner as yet unknown§ and that PLAINT§FFS*
damages as herein aiieged Were proximateiy eansed i):;r those defendants

et At aii reievant tirnes Sentiiwest Carnenters Heaitii and Weit`are irnst,
Seatiin/’est Carnenters i)ension Trnst, Sontnwest Carnenters ‘v’aeation Trnst? and
Soatnwest §:arnenters iraining and, Were and are exnress ttasts Wnieii exist
narsnant to Seetion 332 e§the isaiiRAz §§ UiSr(:. §§Se? and are innitiern§aio:rer pians

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Within the meaning of section 3 of ERISA, 29 U.S.C. §lGOZ.

7. At all relevant times the Construction industry Advancernent Fund of
Southern Caiifornia, the Residentiai Housing Contract Adrninistration Trast and,
the Contractors~Carpenters Grievance and Arhitration Trust, and the Contract
Adrninistration Trnst for Carpenter-Managernent Relations, Were and are express
trusts Which exist pursuant to section 302 of the LMRA, 29 U.S.C. §186,

8. rat all relevant tirnes the Carpenters»Contractors Cooperation
Cornrnittee ("CCCC"), Was and is a non~profit California corporation Which exists
pursuant to section S(i)) of the Lahor Managernent Cooperation Act of iQ?S, 92
Stat. 2620 (l978), for the purposes set forth in section BGZCC)(Q) of i;.l\/IR.ri\it §§
U,S.Ci § iSo(c)(Q).

9 CSAC is the administrator of Sotlthwest Carpenters Health and Welfare
'i`rttst, Southwest Carpenters Pension irast, Sonthwest Carpenters \Facation Trust§
and Southwest Carpenters fraining and, and assignee of the Constrnction industry
Advancernent Fund of Sonthern Californiai the Residential Honsing Contraet
Adrninistration frost Fand, the Contractors»€arpenters Grievance and Arhitration
Trust, the Contract Adrninistration frost for Carpenter~Management Reiations, and
the Carpenters~Contractors Cooperation Connnittee§ and the Grie\/ance Ohiigation
Trust Fand (coliectiveiy, the “PLANS"), and as such is a plan fiduciary Within the
meaning of Section 3 of ERiSAj 29 U.S.C, §lt)OZ,

iG. ihe duty authorized and acting trustees or directors of each of the
PLANS have also assigned to CSAC ali their right, title and interest in and to any
and aii amounts due and owing to the respective PLANS ny the enipioyer as herein
alieged.

l tt Sontiiwest Regionai Coaneil of C'arpenters and its affiiiated iocai
nnions t"`iji\iiONSz§} aftiiiated With ignited Brotherhood of Carpenters and Joiners
of §nieriea are iahor organizations that are a eartj;r to tire coiiectis'e hargaining

agreements ingots/ed

 

 

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iZ, At ail relevant tirnes, employer, FABRIC WALLCRAFT OF
CALIFORNIA, iNC., a California corporation, and DOES l through 5
(“EMPLOYER”L Was and is a contractor engaged in the construction industry
Within the jurisdiction of the UNIONS.

FIRST CLAIM FOR RELIEF FOR
DAMAGES FOR F'AILURE TO PAY
FRINGE BENEFIT C()NTRIBUTIONS

l:ii On or about Septeinber 85 ZGi(}i El\/IPLOYER, agreed to be party to
and bound by Proposition AIAA & Measure 3 bacilities Project Labor Agreenient -
Letter ofAssent (“LE'f`TER OF ASSENT§")‘ A tree and correct copy is attached
hereto, inarl<ed as E>§hibit “l ii and incorporated hereby by reference

iii Gn or about the date set forth thereon, EMPLOY'ER rnade, executed
and delivered to the Ui\ii©l\§i a Carpenters l\/iernorandorn Agreenient, Singie i:’roject
Agreernent dated Gctober ida Zi)ii {tiMEMCRANDUi\/i AGREEMENT”). A true
and correct copy is attached hereto, marked as Exhibit “'2;“ and incorporated herein
by reference

15. The LETTER @F ASSENT and the i\/IEMORANDUM AGREEMENT
bind EMPLGYER to the terrns and conditions of the i\/laster Labor Agreenient
between the United General Contractors., inc and Southwest Regional Coancil of
Carpenters and its afiiiiated Local Unions of the United Brotherhood of Carpenters
and joiners of nonericaj DATED Jaly i, Zt)lZi and any renewais or snbsequent
l\daster Labor Agreetnents, and the PLANSY agreements and any anten¢:irnents.j
rnoditicationsg e><;tensionsz snpplernentations or renewais of the l%}isANSg agreements
(“‘coiiecti\rel;/ referred to as “AGREE`;\AENTS”),

id inc i)iir~§i\i$ are third partj;it beneficiaries oi` the AGR§Et\d§NTS and
i`viaster tabor Agreernents.

§:i the §§R§Eiei§i\if§ re§aire §MPLG‘§ER to eaja fringe benefit
contribntions at the rates set tertii therein for esters hear teeri<,ed b:r ernpio:rees

 

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t performing services covered by the AGREEMENTS, and on account of all
2 compensation paid to employees performing services covered by the

3 AGR}EEl\fIE"i\iiSz

4 iS. The AGREEMENTS require EMPLOYER to make the fringe benefit

5 contributions by Way of Ernployer Monthly Reports (“REPORTS”) to the PLANS at

6 their place ot` business in Los Angeles, Caiifornia, on or before the 25th day of each

a vvere Worked or paid §iirther, the AGREEMENTS speciiicaliy provide that the

month toliowing the month during vv'hich the hours t`or which contributions are due

9 venue ot` an action to recover deiinqnent fringe benefit contributions shail be in the

t o Connty ofLos Angeies.
t t iii in acknowledging both that the regular and prompt payrnent oi`

12 ernpioyer contributions is essentiai to the maintenance oi` the ?LANS, and the

t 3 extreme ditiicnity, if not impracticabilityj oi` fixing the actoai expense and damage

te to the PLANS vv'hen stroh monthiy contributions are not paid vvhen due, the
15 AGREEi\/IENTS provide that the amount of contractual damages to the PLANS

t 6 resulting from a failnre to pay contribntions When doe shali be presented to be the

t it sorn ot $3&(){} per deiinquency or it) percent of the amount oi` the contributions due

is Whichever is greater This arnonnt shail become doe and payabie to CSAC as
t a liquidated damages in addition to the nnpaid contributions or contribntions paid

2c iate,

2 t 2d EMPLOYER engaged Wori<ers vvho performed services covered by the

22 AGREEM§N?S and Who performed iabor on vvori<s of construction within the

2 3 jurisdiction ot` the AGR`EEMENTS undertaken by §MPLGYER dating the terre ot

2 4 the AGREEMENTS.
2 5 Zir iiivii>i_i@Y§R has taiied to pay the fringe beneiit contribntions in tire
2 c nianner prescribed by tire AGR§EMEN'§& and there is now due and owing to tire
2a PLANS trorn BMPLQY§R in tire arno'nnts set tertii in Exbibit “Eii,
2 a 22 inc A§§E§MEN?S reoaire §NiP;GY§R to pay tot tbe expense or

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l auditing El\/IPLOYER’s business records if an audit by the PLANS indicates that

2 EMPLOYER failed to report and pay all contributions

3 23. As a result of the failure to pay fringe benefit contributions in the

4 manner prescribed by the AGREEl\/IENTS, EMPLOYER is liable for interest on the
§ unpaid contributions from the first of the month following the date due, at the rate

6 prescribed by the AGREEMENTS.

24 The PLANS have conducted check stub auditsz Which indicate that

wl

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El\/IPLQYER failed to report and pay all contribations owed during this time period

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lrue and correct copies of the Audit invoices and Audit Reports (sociai security

t o numbers redacted), dated October 4, ?.Gl‘? and April 18, ZOlS are attached as

il t Exhibit “.”4

t2 25, As a result of the failure to pay fringe benefit contributions in the

it 3 manner prescribed by the AGREEMENT& EMPLOYER is liable for an amount

l c equal to the greater of interest on the unpaid contributions as prescribed by section

t 5 662l ofthe internal Revenne Code of l§§¢lr 26 UrSrCr §oti§l, or liquidated

t 6 damages provided for under the AGREEMENTS.

t it Zoi lt has been necessary for PLAlNTlFFS to engage counsel to bring this
it 8 action to compel compliance tvith the AGREEMENTS, and to recover the attorneys5
it a fees and the costs for Which EMPLOYER is liable pursuant to the AGREEMENTS
2c and section SGZ(g)(Z) of El§lSA5 §§ U.S.C. §i i§Z(g){Z).

2 l 21 "l`he PLANS have complied tvith all conditions precedent

22 28 El\/lPLQYlER is delinquent in contributions in a further sum, the exact
2 3 amount of Which is unknown to PLAlNTlFFS> and PLAil\lTlFES Will move to

2: a amend this complaint vvhen the tree amount of the fringe benefit contribution

2 §§ delinc;uency is determined

2 a §§ QSA§ itas3 concnrrentiy ivith the filing of this complaint§ served a copy
2 7 of same open the Secretary ofLabor and Secretary of the lreasnry’r

2 s rif

 

 

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SECOND CLAIl\/I FOR RELIEF F()R
2 SPECIFIC PERFORMANCE FOR SPECIFIC l\/IISSING REPORTS
30. PLAlNTlFFS reallege and incorporate herein by reference each and

U»J

a every allegation contained in paragraphs l through 29 of their First Clairn for

C_)`l

Relief, and allege for a Second Clairn for Relief for Specific Perforrnance for

Missing Reports against EMPLOYER, as follows

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31 This action for specific performance arises and jurisdiction of the court
g is founded on Section EUl of the Labor»Managenient Relations Act of l§d~?
9 (*lLMRA"`) (29 U.S.C, §li§§A) and Section 562 of the Ernployee Retireinent lncorne
1 n Security Act of iQ?¢l (“ERISA"}§ as arnended (29 U,SQCQA §l iBZ)i
ii 32. The AGREEMENTS require l§l\/IPLC§YER to complete and subrnit
; 2 liniployers l`\/lonthly Reports ("REPGRT:S”) stating the arnount of contributions
g 3 owed along With fringe benefit contribution to the PLANS at their place of business
ji_ a in bos ii`\i'igelesz Californiais on or before tile 25th day of each month following the
31 ntonth during Which the hours for vrhich contributions are due Were 'vvorl<ed or paid
1 5 for,
;:j; 33 EMPLOYER has failed to subrnit REPORTS and contributions for the
in following rnonths; Decernber ZGlS through june ZQlS,

1 o 34. The PYLANS have no adequate or speedy remedy at lang as the PLANS
2 n are unable to calculate tire amount owing

2 1 THIRD CLAIM FGR RELIEF F()R

22 iNJUNCTiX/E RELIEF F()R FAILURE T() TIl\/IELY FILE

2 3 AND PAY EMPLOYER l\/IONTHLY REP()RTS

;:; a 35, PLAlNTiE§S reallege and incorporate herein by reference each and

g 5 et/“er;r7 allegation contained in paragraphs i through 33 ot` their l:irst and Second

3 a Ciairns for Reiiei and ailege for a ibird Clairn of Reiieffor injunctive Relief against
ga Eirli§lo€:§‘rr§l§, as foilours:

23 fid. ERiSA Section §§Z(ai presides in part: ”A cis:ii action rnas be brought

 

 

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. . . (3) by a participantj beneficiary/3 or fiduciary (A) to enjoin any act or practice
Wliich violates any provision ofthis title or the terms ofthe plan. t l ."

3?. ie\dditionallj,/ii Section 5l5 of ERISA (29 U.S.C. § ll¢l$), as amended
provides ”Every employer vyho is obligated to make contributions to a
multiemployer plan under the terms of the plan or under the terms of a collectively
bargained agreement shall§ to the extent not inconsistent With law, make such
contributions in accordance With the terms and conditions of such plan or such
agreementfi

33 EMPLOYER has failed to submit REPORTS and/or remit full
contributions to the PLANS for the period of Decernber ZOl 5 to lone ?.,()lSz and may
fail to furnish REPORTS or remit contributions to the PLANS for subsequent
months

39. As a result of EMPLCYER’s failure to submit REPORTS and/for pay
contributions on the dates on Which its contributions Were dueg El\/iPL{)YER may
have become indebted to the PLANS for contributions9 liquidated damages and
interest

~»/-il}. PLAiNTlFFS timely notified EMPLGYER by letter of each
delinquency and of the assessment of each delinquency, and repeatedly demanded
payment of the delinquencies To date,) EMPLOYER has failed to pay the
delinquencies owed to the i)li,rlrl\‘§a

dl, §l\/lPLCYER’s failure to promptly pay its delinquencies to the PLANS
on the dates on Which such contributions Were due is a violation of the
AGREEMENTS,

ill §MPLQY§R$:§ delinquencies to Pi,AlNl"ll:FS base occurred liorn
Septernber ZtilS and are continuing

di EMPLOY§R drill continue to refuse or fail to pay contributions to the
PL§tl\iS and tbereby create future unpaid delinquencies during tire remaining terms

oftbe nGREEl¥lENlS¢ ijnless §bd§tGY§R is enioined from failing to make its

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1 contributions and restrained from incurring delinquencies the PLANS' Will suffer

irreparable injury for vvhich there is no adequate remedy at law since, among other

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things, the PLANS Will be required to bring a multiplicity of actions at law to

4 recover the delinquencies as they occur, to the PLANS’ great expense and hardships

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Further, unless EMPLOYER is so enjoined, based on experiences With other

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similarly situated employers, the PLANS have little prospect of ever collecting on
is the additional delinquencies incurred as such employers frequently petition for

g bankruptcy, dissolve or otherwise cease doing business as a result of the financial
c difficulties involved in their delinquencies and the PLANS are unable thereafter to

1 n collect delinquencies thus owing

1 g FOURTH CLAIl\/I F()R RELIEF F()R
33 SPECIFIC PERFORMANCE TO C()NDUCT AN AUDIT
1 3 44 PlsAll\l"l`lFl:S reallege and incorporate herein by reference each and

rt every allegation contained in paragraphs l through 43 of their l;`irst, Second and

3 5 Third Claims for Relief, and allege for a ’l`hird Claim for Relief for Specific

1 g Performance to Conduct an Audit against ‘,E.l\/lll’l_,.OYE`R3 as folloWs:

17 45 The AGR`EEMENTS provide that the PLANS have the specific

§ g authority to examine the EMPLGYERis job cost records, general check registers

1 c and check stubsj bank statements and canceled checks, general ledgers, cash

2 o disbursements ledgers.§ vvorl<er compensation insurance reports3 financial statements
2 g corporate income tax returns, employee time cardsz payroll iournals, individual

;;Q earnings records of all employeesi forms WSZS it}§»‘§? and lillie remitted to the U.S.
; 3 Governrnent, quarterly state tax returns, health and Welfare and pension reports for
2 a all other tradesz cash receipts iournali copies of all contracts and all material

g 5 invoices

2 § dol lite ?LANS have reauested access to §lyil~`ll@`rf§l§is business records
;/;i: for the purpose of conducting an audit

;; g iii Elei§iQYER has failed andror refuses to aliour the PLANS to complete

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g

 

 

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1 such as audits

48. The PLANS have ne adequate er speedy remedy at law.

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LA)

49, lt has been necessary for PLAINTIFFS to engage counsel to latng this
4 action to compel compliance With the AGREEMENTS, and to recover the
attorneys fees and the costs for Which EMPLOYER is liable pursuant te Sectien
502(§)@) of ERISA and pursuant to the AGREEMENTS.

7 50. PLAINTIFFS havel eeeeurrently With the filing ef this complaint,

CD

(F\

g served a eepy ef same tapes the Secretary et haber and Seci‘e€arjz et the ireasury.

9 WHEREFOR`E, PLAINTIFFS pray forjudgment as follows
1 9 FOR PLAINTIFFS’ FIRST CLA§M FOR RELIEF F()R
1 1 DAMAGES FOR FAILURE T() PAY FRINGE
g 2 BENEFIT CONTRIBUTI()NS
13 ll Fer unpaid eeetrihutiens in the sum et 33§?§3,63;
1 a Z. Fer iete::es‘i; aecl liquiciated damages as previeleel in j;he

15 AGREEMENTS;
1 6 Z?,, Fe§ a statutery amount equal te the greater of the interest en unpaid
;z eentrihutiens Whieh Were ewing as et the time et the tilng et the complaint herein

1 g (at the rate preseeihecl by law), er liquidate:i damages as previdecl in the

1 9 AGREEMENTS, in the arneth te he <:letei‘miheclv

;3 @ F€:)R PLAINTIFFSY SEC()ND CLAIM FOR RELIEF F()R
2 : SPECIFIC PERFORMANCE F()R SPECIFIC MISSING REPORTS
;/j 2 ll ?hat §MPLGYER he eempellea te ferthwith seemit the R,EPOR§'§S fee

;/_ 3 the fellowng months aleeg With the aperep:‘iate eezit§ihutiens: Deeemher ZGlS

thteu§h jesse 2€3§§§¢

2 a
; § FQR PLA§N?§§?FS? TH§RD CLA§M: §`GR RELIEF F(:}R
2 § ENJENCTIVE REL§EF FGR FA§L§RE T§) TIMELY FILE AND

§AY §M§§LQYER MGNTHLY §EPQRTS

F\")
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1 and enjoining EMPLOYER, for so long as EMPLOYER remains bound to make any
2 payments or contributions to the PLANS, from failing to deliver or cause to be

3 delivered to PLAINTIFFS, no later than the 25th day of the month:

a a. A complete, truthful, and accurate Ernployer‘s Monthly Report to
5 Trustees covering all employees of EMPLOYER ernployed during the
5 previous month under the AGREEl\/IENTS;
s b, A declaration i`rorn a responsible employee oi` EMPLGYER
3 attesting from his or her personal knowledge under penalties of perjury
o to the completenessj truthfulness, and accuracy for the l\/lonthly

1 3 R,eport; and

; 1 c, Checl<: i`or the i`ull amount owing on the Monthly Report.

12 2, For submission and timely payment of the §rnployers l\/lonthly Reports

1 3 to l`rustees for the period Decernber ZGl§ through the present, so long as the

i a EMPLGYER remains bound to rnal<e any payments of contributions to the PLANS,

jr »3 F()R PLAINTIFFSS FOURTH CLAIM F()R RELIEF F()R
i 6 SPECIFIC PERFORMANCE TO CONDUCT AN AUDIT
17 l. That EMPLOYER be compelled to forthwith submit to completion of an

; g audit of ElleiiGYERis business records covering the period front QctoberlS, ZGlS
3 9 through the present, by the PLANS’ auditors at the premises of El\/lPl,OYER during
g o business hours, at a reasonable tirne or tirnes, and to allow the auditors to examine
3 1 and copy the following booksz records, papersi documents and reports oi`

2 g EMPLOYER: all job cost records, general checi< register and check stubs, bank

2 3 statements and canceled cheeksi general ledgers, Worl<er compensation insurance
2a reports, financial statements, cash disbursements ledgers, corporate income tax

2 5 r<::turnsj employee tirne eards, payroll ioarnalsi india/ideal earnings records oi` all

2 § ernploj;:eesj i`orrns W=Z, l§§§l and lil§o remitted to the ll§rt Governrnent, quarterly
”; state tax returnsz iiealtl;i and tvel§are and pension report i`or all other trades, easn

g 3 receipts ionrnali copies ot` all cornrar:;rsj and ali rnaterial inroices;

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1 AS TO ALL OF Plnf\lr\lrl"ll?li`$g CLAIMS F()R RELIEF
2 l. For reasonable attorneys fees;
3 2c For audit costs;,
a 3 For audit costs of this action;
5 3d F or further contributions according to proof; and
5 4 F or such other and further relief as the court deems proper.
1 Dated: august , inn s o@cARLo a sHANLer,
a Proi`essional Corporation
CASE‘r/;§ENSEN
1 o Attorne zs for Piaintiffs,
CARP NTERS SOUTHWE`ST
t t ADMlNlSTKATI\FE CORPORATlOl\l
and BOARD OF TRUSTEES FOR 'l`HE
12 CARPENTERS SOUTHWEST TRUSTS
l d
l §§
1 7
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§ 3

 

 

